     Case 2:05-cr-00423-DAK Document 45 Filed 06/08/21 PageID.158 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF UTAH


UNITED STATES OF AMERICA,
                                                          MEMORANDUM DECISION AND
                        Plaintiff,                          ORDER DENYING EARLY
                                                          TERMINATION OF SUPERVISED
v.                                                                RELEASE

ANTHONY RICHARD HAMILL,                                        Case No. 2:05-CR-423-DAK

                        Defendant.                                Judge Dale A. Kimball




         On May 27, 2021, the court received a letter from Defendant seeking early termination of

his supervised release. This court sentenced Defendant to 120 months incarceration and 60

months of supervised release for possession of child pornography. Defendant’s term of

supervised release began on June 15, 2018. Therefore, he has served approximately three of his

five years of supervised release. The United States opposes early termination of Defendant’s

supervised release. Defendant’s United States Probation Officer provided the court with a

supervision summary report, but did not provide a recommendation.

         Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be
  Case 2:05-cr-00423-DAK Document 45 Filed 06/08/21 PageID.159 Page 2 of 2




considered in imposing a sentence, including “the nature and circumstances of the offense and

the history and characteristics of the defendant,” the applicable sentencing guidelines and any

policy statements issued by the Sentencing Commission, and the need for the sentence imposed

to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       Defendant’s probation officer states that Defendant has been fully compliant while on

supervised release, completed all active conditions of supervision, and has maintained a stable

residence. Defendant has taken many positive steps to turn his life around. The court, however,

has concerns with respect to Defendant’s criminal history and the nature and circumstances of the

offense. The type of crime has a likelihood of recidivism and there is a need to err on the side of

caution to protect the community. Defendant’s five-year term of supervised release is much

lower than the term of supervised release the court has imposed in similar cases. The court does

not want to diminish Defendant’s efforts while on supervised release, but the court believes that

Defendant will benefit from continued supervision to help ensure that Defendant continues along

the right path consistently. The court, therefore, denies Defendant’s motion for early termination

of supervised release at this time. Defendant may reapply for early termination in a year.

       DATED this 8th day of June, 2021.

                                              BY THE COURT:



                                              DALE A. KIMBALL
                                              United States District Judge




                                                 2
